                                      Case 2:17-cv-00258-GMN-GWF Document 27
                                                                          26 Filed 03/23/17
                                                                                   03/22/17 Page 1 of 2



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                        7       THE MIRAGE CASINO-HOTEL, LLC
                        8                                       UNITED STATES DISTRICT COURT
                        9                                             DISTRICT OF NEVADA
                     10

                     11         NICOLE HOULE,
                     12                            Plaintiff,                    Case No. 2:17-cv-00258-GMN-GWF
                     13         vs.                                              STIPULATION FOR DISMISSAL
                                                                                 WITHOUT PREJUDICE OF PLAINTIFF’S
                     14         THE MIRAGE CASINO-HOTEL LLC;                     CLAIMS AGAINST THE MIRAGE
                                BAR TENDER'S UNION 165,                          CASINO-HOTEL, LLC; ORDER
                     15
                                                   Defendants.
                     16

                     17                   IT IS HEREBY STIPULATED by and between the parties herein, through their respective

                     18         counsel, that pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, all claims asserted by

                     19         Plaintiff Nicole Houle against The Mirage Casino-Hotel, LLC (hereinafter “The Mirage”) are

                     20         dismissed without prejudice. This Stipulation does not affect any claims asserted by Plaintiff against

                     21         Bartender’s Union Local 165, which are still pending in this action.

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                                  Case 2:17-cv-00258-GMN-GWF Document 27
                                                                      26 Filed 03/23/17
                                                                               03/22/17 Page 2 of 2



                        1                Plaintiff and The Mirage will each bear their own respective costs and attorneys' fees. All
                        2       appearing parties have signed this Stipulation. No trial date has been set in this case.
                        3        Dated: March 21, 2017                                Dated: March 21, 2017
                        4

                        5        /s/ Sandra C. Ketner, Esq.                         /s/ Kristofer D. Leavitt, Esq.
                                Patrick H. Hicks, Esq.                             Kristofer D. Leavitt, Esq.
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                     10          Dated: March 21, 2017
                     11

                     12          /s/ Kristin L. Martin, Esq.
                                Kristin L. Martin, Esq.
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                     14         595 Market Street, Suite 800
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                     15
                                                                      ORDER
                     16

                     17                                               IT IS SO ORDERED.

                     18                                               Dated this ______
                                                                                  23    day of March, 2017.
                     19

                     20

                     21                                               UNITED STATES DISTRICT JUDGE
                                Firmwide:146546955.1 060736.1122
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